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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


   SUSAN BYRNE,                             :
     Plaintiff                              :     Civil Action NO.
                                            :
   vs.                                      :     3:17-cv-01104-VLB
                                            :
   YALE UNIVERSITY                          :
     Defendant                              :     APRIL 1, 2019
                                            :

                DEFENDANT'S
                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Pursuant to Fed. R. Civ. P. 56, Defendant Yale University ("Yale")
                                                                   (“Yale”)

respectfully moves for summary judgment on each count of Plaintiff Susan

Byrne’s Second Amended Complaint. Yale is one of the preeminent universities
Byrne's

in the world. As befits such an institution, the standard for obtaining tenure is

extremely high; only those among the "foremost
                                     “foremost leaders in their fields throughout

the world"
    world” qualify. Plaintiff sought tenure within the Department of Spanish and

Portuguese ("the Department”), but after a robust evaluation of Plaintiffs
           (“the Department"),                                  Plaintiff’s

scholarship, five of the seven professors who reviewed her tenure case

                                       Yale’s high standard. Three external
concluded her scholarship did not meet Yale's

referees also had strong criticisms that echoed that majority view, with one

stating succinctly: “her
                    "her unchanging adherence to a well-established but seriously

limiting scholarly paradigm will not place her among the leading scholars in the

general field of Spanish literary studies."
                                  studies.” As a result, the Department denied

Plaintiffs
Plaintiff’s application for tenure, and she never reached the subsequent levels of

tenure review, including consideration by Yale's
                                          Yale’s Humanities Tenure and

Appointments Committee.
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      Plaintiff’s claims of retaliation, breach of contract and negligent
      Plaintiffs

misrepresentation in this lawsuit fail as a matter of law. This is so, fundamentally,

because Yale fully and fairly reviewed her tenure case, and determined that her

scholarship did not satisfy the very high standard that Yale sets for tenure

candidates.

      For the reasons set forth more fully in the attached memorandum of law,

the Court should grant summary judgment in Yale's
                                           Yale’s favor on each count of the

Complaint.

                                             DEFENDANT,
                                             YALE UNIVERSITY

                                       By:   /s/David C. Salazar-Austin
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                            CERTIFICATION OF SERVICE

         I hereby certify that on April 1, 2019, a copy of foregoing was filed

electronically [and served by mail on anyone unable to accept electronic filing].

Notice of this filing will be sent by e-mail to all parties by operation of the Court's
                                                                                Court’s

electronic filing system [or by mail to anyone unable to accept electronic filing].

                                           Court’s system.
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                                              /s/David C. Salazar-Austin
                                              /s/David
                                              David C. Salazar-Austin




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